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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO
                                EASTERN DIVISION


RE:   Reassignment of Cases to the Docket of
      District Judge Jeffery P. Hopkins


                                          ORDER


      The attached cases are hereby reassigned to the docket of the Honorable Jeffery P.

Hopkins.

      IT IS SO ORDERED.


 December 21, 2022                 ______________________________________
DATE                               Honorable Algenon L. Marbley
                                   Chief Judge United States District Court
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       Case Number                                   Case Title
1:12-cv-00935-DRC        United States of America et al v. Colleran et al
1:15-cv-00555-DRC        United States of America et al v. Mobile Care Group, Inc. et al
1:17-cv-00374-DRC-KLL    Lucas v. Monitronics International, Inc.
1:17-cv-00541-DRC        Secretary of Labor v. Macy's, Inc. et al
1:18-cv-00406-DRC-SKB    Jewett v. Warden, Noble Correctional Institution
1:18-cv-00664-DRC-SKB    Lucas v. Gotra et al
                         Veritas Independent Partners, LLC v. The Ohio National Life
1:18-cv-00769-DRC
                         Insurance Company et al
                         The Ohio National Life Insurance Company et al v. Cetera
1:19-cv-00047-DRC
                         Advisor Networks, LLC et al
1:19-cv-00076-DRC        Schobert et al v. CSX Transportation Inc et al
1:19-cv-00245-DRC        Pugh et al v. Erdos et al
1:19-cv-00750-DRC        Duff et al v. Centene Corporation et al
1:19-cv-01017-DRC        Lawless v. T Financial Services, LLC
1:20-cv-00337-DRC-PBS    Finnell v. Eppans et al
1:20-cv-00363-DRC        Mitchell v. Fujitec America, Inc. et al
1:20-cv-00669-DRC        Total Quality Logistics LLC v. LOGISTIC DYNAMICS, LLC
1:20-cv-00989-DRC        Bayong et al v. County of Butler of the State of Ohio et al
1:20-cv-01030-DRC-MRM    Carlton v. Warden, London Correctional Institution
1:21-cv-00009-DRC        Koren v. Neil et al
1:21-cv-00016-DRC        Aker et al v. ABX Air, Inc. et al
1:21-cv-00043-DRC-KLL    Elliott v. Warden, Dayton Correctional Institution
1:21-cv-00073-DRC        Walters v. Jones
1:21-cv-00104-DRC-CHG    Harris v. Erdos et al
                         Indiana/Kentucky/Ohio Regional Council of Carpenters' Defined
1:21-cv-00126-DRC        Contribution Pension Fund et al v. Tri State Interior Finishes, et
                         al.
1:21-cv-00257-DRC        Karlsson v. Cargo Aircraft Management, Inc. et al
1:21-cv-00280-DRC        Papucci v. A. Ray Brown Family Investment LP et al
1:21-cv-00322-DRC-KLL    Meadows v. Coppick et al
1:21-cv-00364-DRC        Benty v. Butler County, OH et al
1:21-cv-00406-DRC        Amatech Group Limited v. Federal Card Services, LLC et al
1:21-cv-00442-DRC        Blanton v. Hamilton County Board of County Commissioners
1:21-cv-00448-DRC        Walker v. The Ohio National Life Insurance Company
1:21-cv-00480-DRC        Medpace, Inc. v. Vivozon, Inc.
1:21-cv-00492-DRC        Connor v. The Craig and Frances Lindner Center of Hope
1:21-cv-00514-DRC        Klaus v. Fidelity National Information Services, Inc. et al
1:21-cv-00544-DRC-KLL    Hunter v. Hamilton County Board Of Commissioners et al
1:21-cv-00560-DRC        Hill v. Hamilton County Board of County Commissioners et al
1:21-cv-00572-DRC        Sanchez v. Dan Druffel, Inc.
1:21-cv-00603-DRC        Ayers v. Jameson et al
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1:21-cv-00622-DRC        Calvary Industries, Inc. v. McLaren
1:21-cv-00661-DRC        White et al v. M.A. Folkes Company Inc. et al
1:21-cv-00662-DRC        Crew v. Great Miami Valley Young Men's Christian Association
1:21-cv-00681-DRC        Oswald v. Lakota Local School Board
1:21-cv-00714-DRC        Total Quality Logistics, LLC v. Traffic Tech, Inc. et al
1:21-cv-00740-DRC        Hamilton v. Norfolk Southern Corporation
1:21-cv-00753-DRC        Phillip Mink v. The City of Sharonville
1:21-cv-00772-DRC        Krenning v. Miami Valley Aerie 1395 FOE
1:21-cv-00781-DRC        Janik v. CSX Transportation, Inc.
1:21-cv-00790-DRC        Scripps Media Inc. v. Cetus Corporation
                         Heng et al v. Bureau of Citizenship and Immigration Services et
1:21-cv-00806-DRC
                         al
1:22-cv-00025-DRC-KLL    Shields v. Capital One Auto Finance
1:22-cv-00026-DRC        Cox et al v. Total Quality Logistics, Inc. et al
1:22-cv-00035-DRC-SKB    McGowan v. Erdos et al
1:22-cv-00073-DRC-MRM    Fester v. Warden, Dayton Correctional Institution
1:22-cv-00093-DRC        Lyon v. Olero, Inc. et al
1:22-cv-00098-DRC        Person v. Lincoln National Life Insurance Company et al
1:22-cv-00143-DRC-MRM    Houston v. Cool
1:22-cv-00160-DRC        MESA Industries, Inc. v. Charter Industrial Supply, Inc. et al
1:22-cv-00217-DRC        The P&G Health & Longterm Disability Plan v. Pride
1:22-cv-00221-DRC        Andersen v. Ruan Transportation Management Systems, Inc. et al
1:22-cv-00232-DRC-PBS    Jackson v. City of Cincinnati et al
1:22-cv-00288-DRC        JTH Tax LLC dba Liberty Tax Service v. McGrew et al
1:22-cv-00289-DRC        Kimutis v. City of Cincinnati et al
1:22-cv-00308-DRC        CG Medical Associates, Inc. v. RETS Tech Center, Inc. et al
1:22-cv-00342-DRC        Bertelsen v. Terrace Metrics Inc.
1:22-cv-00368-DRC        Cash v. Experian Information Solutions Inc. et al
1:22-cv-00383-DRC        Burdine v. Burdine et al
1:22-cv-00388-DRC        Barnett et al v. Sparky's Nation, Inc. et al
1:22-cv-00390-DRC        McGraw v. LEM Products Distribution, LLC
1:22-cv-00413-DRC        Wilson v. Credit Control, LLC
                         Laborers’ International Union of North America, Local 265 v.
1:22-cv-00447-DRC
                         Ezzie Contractors LLC
1:22-cv-00479-DRC-CMV    Williams v. Greene County Adult Detention Center et al
1:22-cv-00496-DRC        Powell v. CBRE, Inc.
1:22-cv-00513-DRC        Conteh v. The Kroger Co.
1:22-cv-00539-DRC        Wells Fargo Clearing Services, LLC v. Satter
1:22-cv-00553-DRC        Young v. Columbus Life Insurance Company
1:22-cv-00572-DRC-CMV    Thacker v. Warden, Noble Correctional Institution
1:22-cv-00581-DRC-SKB    Schwartz v. The Litigation Practice Group PC
1:22-cv-00591-DRC        Hyde v. Fricker's USA, LLC et al
1:22-cv-00603-DRC        Lara v. Barclays Bank Delaware et al.
1:22-cv-00608-DRC        Armcorp Construction, Inc. v. Window Specialists, Inc.
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1:22-cv-00621-DRC        Charles v. Mid America Mortgage Inc
1:22-cv-00631-DRC        Knobbe v. PWJC, LLC
1:22-cv-00645-DRC        Newman v. JDRF International
1:22-cv-00648-DRC-EPD    Dieterle v. Warden, Marion Correctional Institution
1:22-cv-00650-DRC        Kyle v. Norfolk Southern Corporation
1:22-cv-00659-DRC        Hacker v. Gibbs
1:22-cv-00664-DRC        Ward v. Scioto County Board Of Commissioners et al
1:22-cv-00666-DRC        MAB Industries Corporation v. Channingway Center LLC
1:22-cv-00678-DRC        Haas v. TruPartner Credit Union et al
1:22-cv-00680-DRC        Total Quality Logistics, LLC v. Qureshi
1:22-cv-00681-DRC        Wilder v. The Kroger Co
                         Scottsdale Surplus Lines Insurance Company v. Countrytyme
1:22-cv-00685-DRC
                         Land, LLC et al
1:22-cv-00713-DRC        Buchanan v. Kadant Black Clawson, LLC
1:22-cv-00725-DRC        Long v. CPG International LLC et al
1:22-cv-00726-DRC-EPD    Dieterle et al v. Chambers-Smith et al
1:22-cv-00727-DRC        Cassidy v. Klosterman Baking Co.
